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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,              )   CASE NO.: 1:12-cr-0213 AWI DLB
11                                          )
                      Plaintiff,            )   STIPULATION AND
12                                          )   PROTECTIVE ORDER BETWEEN THE
                v.                          )   UNITED STATES AND DEFENDANT
13                                          )   CANDACE SHANTEL GONZALES
     ELISEO JARA, JR.,                      )
14   SERGIO JARA,                           )
     ANTONIO PEREZ-MARCIAL,                 )
15   LUCIA YOLANDA CHAVEZ,                  )
     ARLENE JEANETTE MOJARDIN,              )
16   CANDACE SHANTEL GONZALES,              )
     JOSEPH SHAWN CHAVEZ, JR.,              )
17   MELISSA ROCHELLE JARA, and             )
     RICARDO FABIAN SALINAS,                )
18                                          )
                      Defendants.           )
19                                          )
20
21        WHEREAS, the discovery in this case is voluminous and contains a
22   large amount of personal information including but not limited to
23   Social Security numbers, dates of birth, driver’s license numbers,
24   bank account numbers, telephone numbers, and residential addresses
25   (“Protected Information”); and
26        WHEREAS, the parties desire to avoid both the necessity of large
27   scale redactions and the unauthorized disclosure or dissemination of
28   Protected Information to anyone not a party to the court proceedings
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 1   in this matter;
 2        The parties agree that entry of a stipulated protective order is
 3   appropriate.
 4        THEREFORE, defendant CANDACE SHANTEL GONZALES, by and through
 5   her counsel of record David A. Torres (“Defense Counsel”), and
 6   plaintiff the United States of America, by and through its counsel of
 7   record, hereby agree and stipulate as follows:
 8        1.   This Court may enter protective orders pursuant to
 9   Rule 16(d) of the Federal Rules of Criminal Procedure, and its
10   general supervisory authority.
11        2.   This Order pertains to all discovery provided to or made
12   available to Defense Counsel as part of the discovery in this case
13   (hereafter, collectively known as the “discovery”).
14        3.   By signing this Stipulation and Protective Order, Defense
15   Counsel agrees not to share any documents that contain Protected
16   Information with anyone other than Defense Counsel and designated
17   defense investigators and support staff.        Defense Counsel
18   may permit the defendant to view unredacted documents in the
19   presence of her attorney, defense investigators and support staff.
20   The parties agree that Defense Counsel, defense investigators, and
21   support staff shall not allow the defendant to copy Protected
22   Information contained in the discovery.        The parties agree that
23   Defense Counsel, defense investigators, and support staff may provide
24   the defendant with copies of documents from which Protected
25   Information has been redacted.
26        4.   The discovery and information therein may be used only in
27   connection with the litigation of this case and for no other purpose.
28   The discovery is now and will forever remain the property of the
                                           2
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 1   United States Government.     Defense Counsel will return the discovery
 2   to the Government or certify that it has been destroyed at the
 3   conclusion of the case.
 4        5.     Defense Counsel will store the discovery in a secure place
 5   and will use reasonable care to ensure that it is not disclosed to
 6   third persons in violation of this agreement.
 7        6.     Defense Counsel shall be responsible for advising the
 8   defendant, employees, other members of the defense team, and defense
 9   witnesses of the contents of this Stipulation and Order.
10        7.     In the event that the defendant substitutes counsel,
11   undersigned Defense Counsel agrees to withhold discovery from new
12   counsel unless and until substituted counsel agrees also to be bound
13   by this Order or the Court modifies this Order regarding such
14   transfer of discovery.
15        IT IS SO STIPULATED.
16   DATED:    July 26, 2012           By:       /s/ David A. Torres
                                                 DAVID A. TORRES
17                                               Attorney for defendant
                                                 CANDACE SHANTEL GONZALES
18
19   DATED:    July 26, 2012                     BENJAMIN B. WAGNER
                                                 United States Attorney
20
                                        By: /s/ Kirk E. Sherriff    __
21                                          KIRK E. SHERRIFF
                                            HENRY Z. CARBAJAL III
22                                          Assistant U.S. Attorneys
23
                                         ORDER
24
     IT IS SO ORDERED.
25
26   Dated:        July 27, 2012
     0m8i78                            CHIEF UNITED STATES DISTRICT JUDGE
27
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